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 1           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
 2
 3   SPECTRE CORPORATION,                     )
 4               Plaintiff,                   ) Case No.
 5                     vs.                    ) 16-932C
 6   THE UNITED STATES OF AMERICA,            )
 7               Defendant.                   )
 8
 9
10                              Courtroom 7
11             Howard T. Markey National Courts Building
12                       717 Madison Place, N.W.
13                            Washington, D.C.
14                       Thursday, June 22, 2017
15                               2:00 p.m.
16                                 Hearing
17
18
19
20                BEFORE: THE HONORABLE LOREN A. SMITH
21
22
23
24
25   Elizabeth M. Farrell, CERT, Digital Transcriptionist
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  1   APPEARANCES:
  2   ON BEHALF OF THE PLAINTIFF:
  3               CHRISTINA HEISCHMIDT, ESQ.
  4               Dunlap Bennett & Ludwig, PLLC
  5               8300 Boone Boulevard
  6               Suite 550
  7               Vienna, Virginia 22182
  8               (703) 777-7319 / (703) 777-3656 (fax)
  9               cheischmidt@dbllawyers.com
 10               AND
 11               JAMES WIGGIN, III, ESQ.
 12               517 City Park Avenue
 13               Columbus, OH 43215-0708
 14               (614) 291-6424 / (614) 291-6424 (fax)
 15               jameswwiggin@gmail.com
 16   ON BEHALF OF THE DEFENDANT:
 17               SHARI A. ROSE, ESQ.
 18               ANDREW J. HUNTER, ESQ.
 19               U.S. Department of Justice
 20               Commercial Litigation Branch, Civil Division
 21               Post Office Box 480
 22               Ben Franklin Station
 23               Washington, DC 20044
 24               (202) 305-1265 / (202) 514-8624 (fax)
 25               shari.rose@usdoj.gov


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  1                          P R O C E E D I N G S
  2                          -     -     -    -    -
  3               (Proceedings called to order, 2:25 p.m.)
  4               THE COURT:      I apologize for the delay this
  5   afternoon, but we are here now in Spectre Corporation vs.
  6   the United States, and we’re here on the Government’s
  7   motion to dismiss the case.         Why don’t we talk about the
  8   main motion and then we’ll look at the issue of the sur-
  9   reply.
 10               And for the Government, let me ask you to
 11   introduce yourself first?
 12               MS. ROSE:      Good afternoon, Your Honor.      My name
 13   is Shari Rose, representing the United States in this
 14   matter from the Department of Justice.           With me here at
 15   the table is Andrew Hunter, also from the Department of
 16   Justice, and we also have Callista Puchmeyer and James
 17   Burke from NASA.
 18               THE COURT:     Okay, good to have you all with us.
 19               And from the Plaintiff’s side?
 20               MS. HEISCHMIDT:      Good afternoon, Your Honor.
 21   Christina Heischmidt on behalf of Spectre Corporation.             I
 22   am the attorney of record.         And with me today, I have
 23   James Wiggin.    And, actually, we have a preliminary
 24   matter on that --
 25               THE COURT:     Okay.


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  1                MS. HEISCHMIDT:       -- as I understand --
  2                THE COURT:    Okay, I seem to remember, yes.
  3                MS. HEISCHMIDT:       So I was wondering if we could
  4   address that prior to arguing any motions.
  5                THE COURT:    Sure.    We have admission to the
  6   bar?
  7                MS. HEISCHMIDT:       So, Your Honor, there was
  8   actually an issue with that.         The certificate of good
  9   standing?
 10                MR. WIGGIN:   I got a certificate of good
 11   standing and it was mailed last week by the Ohio Supreme
 12   Court, but it hasn’t arrived.         I had it mailed to her
 13   firm’s office.
 14                THE COURT:    Oh.
 15                MR. WIGGIN:   As well as the check for the
 16   admissions fee was being mailed.         We do have the letters
 17   of recommendation and everything, but we are prepared
 18   today to go ahead with that motion, and I have not yet
 19   been admitted pro hac vice.
 20                THE COURT:    Okay.    Well, is there any objection
 21   to that?
 22                MS. ROSE:    No, Your Honor.
 23                THE COURT:    Okay.    Well, we’ll admit you pro
 24   hac vice for today, and next time you come, we’ll have
 25   your admission --


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  1               MS. HEISCHMIDT:       We’re mailing them in, Your
  2   Honor.
  3               MR. WIGGIN:     We’ll just submit it with the
  4   Clerk of Court.        We’ll use their procedure.
  5               THE COURT:     Okay.
  6               MS. HEISCHMIDT:       Thank you very much.
  7               THE COURT:     Sounds good.
  8               MR. WIGGIN:     Now while I’m on my feet now that
  9   I’m admitted pro hac vice, Your Honor, the other motion
 10   was I had filed a sur-reply.
 11               THE COURT:     Yes.
 12               MR. WIGGIN:     Peter Gwynne, who was the original
 13   attorney for the Justice -- I talked about me of these
 14   things with him and -- but anyway, when I filed the sur-
 15   reply, he objected to that very much and he filed a
 16   motion to strike.       And we fully briefed that, which is
 17   the other motion that’s up today.
 18               THE COURT:     Correct.
 19               MR. WIGGIN:     I notified counsel for the
 20   Government yesterday -- I thought about it on the drive
 21   out here and I thought there’s really no need for my sur-
 22   reply anymore since we’re having oral argument.          Judge
 23   Firestone had not shown any inclination to set it for
 24   oral argument, so I want to have -- well, they accused me
 25   of wanting to have the last word, which I guess I wanted


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  1   that.
  2               THE COURT:    Okay.
  3               MR. WIGGIN:   But it was -- I felt that there
  4   were a few things I wanted to put on the record.            So as
  5   interesting as some of the procedural issues in that
  6   might be, I am -- we are prepared to withdraw that sur-
  7   reply, which will moot the motion to strike and save you
  8   a lot of time.
  9               THE COURT:    Okay, thank you very much.        That
 10   gets rid of something that I think would probably waste
 11   time, because one of my philosophies is always in order
 12   to help the judge understand the case, oral argument is
 13   really very necessary and very useful.        And if someone
 14   has something to say, I want to hear it.        So I don’t -- I
 15   think a lot of people want oral argument to go back and
 16   forth and, you know, without any particular limit as
 17   generally I’ve found that people don’t abuse that.
 18   People don’t want to tell me things that have no
 19   relevance to the case.      They generally want to make a
 20   point.
 21               And I’ve found our bar is pretty good.          They’re
 22   very -- they’re not very often repetitive and -- so if
 23   we’ve got anything to say, we’ll hear it because,
 24   obviously, that’s the only way I can fairly decide the
 25   case if I basically hear all the arguments and all the


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  1   points.    So we’ll let everyone make their points,
  2   withdraw -- that will clean up the docket a little bit,
  3   withdrawing two motions, a sur-reply and then their
  4   motion.    And -- now, of course, in this day and age, it
  5   doesn’t really make as much difference because it isn’t
  6   really on the docket; it’s in an electronic cyber docket
  7   (inaudible).
  8               So, anyway, Ms. Rose, do you want to begin
  9   since it’s the Government’s motion?
 10               MS. ROSE:    Thank you, Your Honor.
 11               May it please the Court.     The Court should
 12   grant the Government’s motion to dismiss because Spectre
 13   has not and cannot state a claim upon which relief may be
 14   granted.
 15               There are three independent bases for granting
 16   the Government’s motion.      First, by its own admission,
 17   Spectre has failed to meet its financial obligations
 18   under the Space Act Agreement.       Because Spectre never
 19   paid the full $80,000 due prior to the start of NASA’s
 20   work on Milestone 3, NASA had no obligation to perform
 21   any activities under the contract after Milestone 2.
 22               Second, the Space Act Agreement and Licensing
 23   Agreement include express disclaimers of warranty and
 24   liability and those express disclaimers preclude
 25   Spectre’s claim.       And, third, the Space Act Agreement and


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  1   Licensing Agreement include express disclaimers of
  2   damages, which would preclude Spectre from any recovery.
  3   And I’d like to talk about each of those in a little bit
  4   more detail.
  5               I had the ELMO working before.      I’ll see if I
  6   can do it again.
  7               THE COURT:    Okay.
  8               (Pause in the proceedings.)
  9               MS. ROSE:    This the Space Act Agreement, which
 10   is Exhibit 2 to the complaint.       Within that, I wanted to
 11   direct the Court’s attention to Article 5, Financial
 12   Obligations.    In this, the payment obligation schedule is
 13   clearly delineated.      First, Spectre was required to pay
 14   $100,000 prior to the initiation of any work and that
 15   payment was made.      Next, Spectre was required to pay
 16   $80,000 prior to the start of Milestone Number 3 and that
 17   payment was not made in full.
 18               At this point, I do need to correct one mistake
 19   from the Government’s briefing.       In our briefing, we
 20   stated that Spectre’s complaint acknowledged that it had
 21   not paid -- that it had only paid $125,000 under the
 22   Space Act Agreement.
 23               THE COURT:   Yes.
 24               MS. ROSE:    In fact, it had paid $165,000 under
 25   the agreement.    And it takes some teasing out, but that


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  1   is clearly acknowledged in the complaint and that $65,000
  2   payment is, of course, short of the full $80,000 payment
  3   that was the condition precedent before NASA was required
  4   to start any work with -- starting with Milestone 3.
  5               THE COURT:    So the first payment made in that
  6   list -- the first $80,000 was only $65,000?
  7               MS. ROSE:    Correct, correct.    And this is
  8   important because the allegations of breach are
  9   allegations of NASA’s alleged failure to deliver sensors
 10   under the contract, deliver information under the
 11   contract, but none of NASA’s deliverables were triggered
 12   until Milestone 5 for information and Milestone 6 for
 13   delivery of the first run of sensors.
 14               THE COURT:   Hmm.    Well, here, I guess Milestone
 15   3 is the first $80,000 and the second one -- Milestone 8
 16   has to, I guess, go forward.
 17               MS. ROSE:    Correct.   And there is no payment
 18   after the $65,000 portion required prior to Milestone
 19   Number 3.
 20               THE COURT:   So there was no payment of
 21   $100,000?
 22               MS. ROSE:    There was the payment -- the initial
 23   $100,000 and then 65 of the 80.
 24               THE COURT:   Yeah.
 25               MS. ROSE:    But that 165 represents the full


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  1   amount of Spectre’s payments and, again, because Spectre
  2   was required to make these payments before -- before
  3   NASA was required to perform the milestone activities, it
  4   is -- it is a condition precedent and as their statement
  5   says, without this activity being performed by Spectre,
  6   the obligations were never triggered and NASA’s
  7   performance obligations were never due.
  8                THE COURT:     Mm-hmm.
  9                MS. ROSE:     I’d also like to talk a little bit
 10   about the background of Space Act Agreements.        Spectre’s
 11   claim arises from its goal of using NASA’s patented
 12   technology for the manufacture and sale of high pressure
 13   sensors.    And within NASA’s jurisdiction, they have the
 14   ability to enter into certain agreements, including Space
 15   Act Agreements.        But there’s a couple of different kinds
 16   of agreements.
 17               Here, this is the first page of Exhibit 2, the
 18   first page of the Space Act Agreement.       This is clearly
 19   labeled as a fully reimbursable Space Act Agreement.
 20   That matters for a couple of reasons.       First, a fully
 21   reimbursable Space Act Agreement is one that permits the
 22   partner here, Spectre, to use NASA’s goods, services,
 23   facilities or equipment to advance the partner’s own
 24   interests.    It’s not for NASA’s mission objections.        It’s
 25   really to enable a private -- a private partner, like


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  1   Spectre, to use NASA’s technology to further their own
  2   interests.
  3               And because they’re using the technology to
  4   further their own interests, there’s a very specific
  5   allocation of risks and the risk is placed on the partner
  6   so that we don’t have a situation like this here where
  7   NASA is being -- facing challenges for damages.          And
  8   there are a couple of different ways in which that’s
  9   articulated.
 10               THE COURT:   Well, is that -- is there a real
 11   contract here?    Is the Plaintiff getting anything?        It’s
 12   getting NASA’s promise that if they want to perform, they
 13   will.    It did remind me of a Monty Python episode where
 14   the bishop has got this insurance policy and comes into
 15   the sleazy insurance agency and he says, oh, I got a
 16   claim.   And he says, no, you bought the no-claim policy.
 17   It has this provision that any claim will be denied.           It
 18   was a little cheaper, but you chose that one.        Is this --
 19   I mean, is there anything that NASA could do that would
 20   invoke liability?
 21               MS. ROSE:    Yes.   The boundaries, however, are
 22   limited to bad faith and willful misconduct or criminal
 23   activity.    Short of that, there’s -- the liability has
 24   been -- has been waived by Spectre and warranties have
 25   been disclaimed by NASA.        This is something that is made


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  1   known to parties who wish to enter into these Space Act
  2   Agreements for their own profit, very much up-front.          The
  3   briefing references and the complaint also references the
  4   Space Act Agreement Guide and that Space Act Agreement
  5   Guide clearly sets forth this allocation of risks.          And
  6   the allocation of risks is going to be different
  7   depending on what type of Space Act Agreement it is.
  8               But where it is a fully reimbursable agreement
  9   for the benefit of the partner, there is an unequal
 10   allocation of risks and it is Spectre who bore the
 11   risk --
 12               THE COURT:   Well, would this risk mean that if
 13   NASA decided -- I think in Plaintiff’s brief, they used
 14   the example of the blueberry muffins.       If NASA delivered
 15   a tray of blueberry muffins, would that leave no
 16   liability on NASA’s part then?
 17               MS. ROSE:    You know, I, again, think then you’d
 18   have to ascertain whether that was -- represented good
 19   faith efforts on NASA to perform under the contract.
 20   Putting said blueberry muffins, we’re dealing with, you
 21   know, very sophisticated technology, things that are on
 22   the cutting edge of technology.      To the extent that the
 23   parties performed and what was delivered was something
 24   that was not what Spectre wanted, but was the result of
 25   the good faith efforts, then that would be --


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  1               THE COURT:    So there is a good faith effort
  2   required.    So NASA could not just say, we’re not
  3   delivering anything.
  4               MS. ROSE:    Right.
  5               THE COURT:    They couldn’t do that.
  6               MS. ROSE:    That’s right.
  7               THE COURT:    That would make them liable for --
  8   now, if they delivered something that was defective, that
  9   would be a warranty issue and that would -- they would be
 10   not liable for that, is that correct?
 11               MS. ROSE:    Correct, I mean, absent some
 12   evidence of --
 13               THE COURT:   Bad faith.
 14               MS. ROSE:    -- you know, willful and --
 15               THE COURT:   Right.
 16               MS. ROSE:    -- willful intent to make the
 17   products defective.      And, here, although Plaintiffs used
 18   the word “bad faith,” we do not believe that there is
 19   anything in their complaint that actually rises to the
 20   level that would be required for a 12(b)(6) showing of
 21   bad faith and, specifically, their allegations don’t
 22   demonstrate a specific intent by NASA to harm Spectre,
 23   which would be required.
 24               THE COURT:   Now, under the Government’s
 25   interpretation of the contract, it would appear that


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  1   NASA’s appropriate legal right, at least, would have been
  2   to do nothing until the money came in.       So there would be
  3   no sensors delivered.      Though as I understand it from the
  4   facts, there were three sensors or a question about the
  5   effectiveness was also there, but there were some sensors
  6   delivered.    Do you know why that occurred or is there --
  7               MS. ROSE:    Yes.    I mean, NASA was undertaking
  8   every effort to perform under the contract and that
  9   included performing delivery of certain sensors that were
 10   -- that they were able to create based on the funds that
 11   had been transmitted by Spectre.       And we would note,
 12   however, that NASA’s continued performance is still -- is
 13   still not yet due, even with those good faith efforts,
 14   because there was no obligation of NASA to do anything
 15   starting with Milestone 3 because that payment had not
 16   yet -- had not ever been made.
 17               THE COURT:   Okay.
 18               MS. ROSE:    Within the Space Act Agreement,
 19   Article 14 includes the disclaimer of warranty and
 20   represents that -- it represents the agreement that
 21   equipment, facilities, information and services
 22   provided --
 23               THE COURT:   Right.
 24               MS. ROSE:    -- would be provided as is.        And it
 25   also -- at the end of the paragraph is a disclaimer of


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  1   damages.
  2               THE COURT:    So a lot of -- that many times over
  3   for -- in the various briefs.       So, yeah, I know all of
  4   that.
  5               MS. ROSE:    Okay.   And the licensing agreement
  6   similarly contains very clear waivers of liability and
  7   damages in the sections outlined in the briefs.
  8               THE COURT:    But the licensing agreement
  9   isn’t -- the contention is that they’ve got -- the patent
 10   or the agreement was terminated and no licensing was ever
 11   done.
 12               MS. ROSE:    Correct.
 13               THE COURT:   Or no licensing by the company was
 14   ever used to produce anything that produced profit.
 15               MS. ROSE:    That’s right.   The Space Act
 16   Agreement expired by its own terms three years after it
 17   was signed and the licensing agreement was terminated by
 18   NASA.
 19               THE COURT:   Okay.
 20               MS. ROSE:    And unless the Court has further
 21   questions at this point, I’ll reserve any further
 22   comments to be in response to the Plaintiff’s.
 23               THE COURT:   Okay, thank you, Ms. Rose.
 24               Now, who is going to -- Mr. Wiggin, you’re
 25   going to --


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  1               MR. WIGGIN:    I will, Your Honor.
  2               THE COURT:    Okay.   You may approach the podium
  3   of your newly admitted to court.
  4               MR. WIGGIN:    Thank you.   I didn’t notice, do
  5   they still call these Oscars or --
  6               THE COURT:    They used to be called Elmos.
  7               MR. WIGGIN:    Elmos, whatever they were.
  8               THE COURT:    The Elmo.
  9               MR. WIGGIN:    Elmos, that’s right.    I didn’t
 10   know those were going to be available.       I do have -- I
 11   did make copies of a few of the Space Act Agreement
 12   articles for the Judge’s --
 13               THE COURT:    The “Oscar” one is all red and
 14   fuzzy.
 15               MR. WIGGIN:   And I’ll hand them over to you and
 16   I’ll hand them -- if it would be useful for you to have
 17   the --
 18               THE COURT:    Yes, yes, it probably would.      Or
 19   you can try putting it on the Elmo.
 20               MR. WIGGIN:   Well, I made --
 21               THE COURT:    I always get Elmo and Oscar
 22   confused from my --
 23               MR. WIGGIN:   -- I made copies for everybody.
 24               THE COURT:    -- kids’ TV watching years ago.
 25               MR. WIGGIN:   Here’s -- this is the entire --


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  1   this is the entire contract in case you want to flip
  2   through that.
  3                THE COURT:    Okay.
  4                MR. WIGGIN:    I also have Article 2, which is
  5   the purpose.
  6                THE COURT:    Okay.
  7                MR. WIGGIN:    Article 8, which I’m going to say
  8   something about.
  9                THE COURT:    Okay.
 10                MR. WIGGIN:    And these -- yes, article -- the
 11   termination clause, Article 18, and Article 14, the
 12   famous disclaimer of warranty.        And I just made
 13   individual copies of those so that we could --
 14                THE COURT:    Okay.
 15                MR. WIGGIN:    -- have them available.
 16                THE COURT:    Okay, you may approach the bench,
 17   sir.    Thank you.
 18                Well, the first thing actually I’d like to
 19   focus on is the money.
 20                MR. WIGGIN:    Mm-hmm.
 21                THE COURT:    I mean, is there any obligation on
 22   the part of NASA to perform without the money?
 23                MR. WIGGIN:    Well -- and I understand they
 24   argue that these are conditions precedent and there is
 25   one case they cite on that point -- I forget the name --


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  1   although in that case, there was -- as I understand it,
  2   there was one payment due which was an up-front payment
  3   that was done as a condition precedent.       It hadn’t been
  4   made.   Pretty clear case.
  5               I did want to mention that I drafted an
  6   extraordinarily long complaint for me.       I’m usually more
  7   succinct, but I did it for a couple of reasons.          One, I
  8   wasn’t really sure how the Iqbal doctrine is treated in
  9   this Court.    But I also wanted to be sure that there were
 10   -- knowing that the Justice Department was probably not
 11   very familiar with what goes on over at NASA, I wanted
 12   there to be lots of facts in there for them to take a
 13   look at.    Since they haven’t raised any Iqbal questions
 14   or an issue, I will remind everybody that under 12(b)(6)
 15   for purposes of this motion, all of the factual
 16   allegations that are contained in that complaint are to
 17   be taken as true by the Court.       The well pleaded factual
 18   allegations --
 19               THE COURT:    Correct.
 20               MR. WIGGIN:   -- and I would hope that you’ll
 21   find most of them well pleaded.
 22               As to the money issue, I wasn’t intending to
 23   address that until later on, but it’s our position
 24   that -- I mean, there’s a few things that you should
 25   know, first of all.      One, my client is a very small


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  1   business.    What’s the relevance of that?      I mean, they
  2   should be treated like any other business, I suppose,
  3   except for the fact that as part of NASA’s mission, when
  4   it doles out these contracts, it’s supposed to dole out
  5   contracts to small businesses for the purpose of allowing
  6   them to compete with bigger businesses and to grow
  7   commerce, which was the State of Ohio’s goal in having
  8   this whole grant program that I’m going to be talking
  9   about later that NASA says is completely beside the
 10   point.
 11               But just to put in context the monetary things
 12   -- and I do maintain that to understand this case, you
 13   have to look at the Space Act Agreement in the context of
 14   the other agreements that were entered into.        The grant
 15   agreement with the State of Ohio, which NASA -- they say,
 16   well, we helped out Spectre in doing this.        But, in fact,
 17   NASA -- Dr. Okojie, in his office, wanted to
 18   commercialize this technology.      Now, the Government says
 19   this is a gratuitous contract; NASA’s really just doing
 20   this for the benefit of Spectre.      That’s not true.
 21               NASA has been working on this technology since
 22   at least the mid-1990s when it paid the -- it funded the
 23   Ph.D. program for the scientist who was involved when he
 24   was getting his Ph.D.     His Ph.D. research was devoted to
 25   doing something for the benefit of NASA.        They then hired


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  1   him after he got his Ph.D. and he has spent the previous
  2   20 years working on this technology, mostly towards one
  3   goal, which is to be able to provide to NASA high
  4   temperature pressure gauges that they can use in their
  5   rocket engines and their test stands and their jet
  6   engines and their Mars rovers and their reentry vehicles,
  7   all of which need to sense pressure at high temperatures.
  8               THE COURT:    Yes.
  9               MR. WIGGIN:    So NASA had -- if my client had
 10   gone ahead and commercialized this technology, NASA would
 11   have a seller to go to in order to buy pressure sensors.
 12   It wouldn’t have to make them for itself.        And there is
 13   nobody out there that NASA can buy these things from.
 14   Nobody.
 15               So that was one sense in which this was not a
 16   gratuitous program.      NASA joined with my client in making
 17   this pitch to the State of Ohio for the grant money.
 18   Now, my client couldn’t have made that alone.        They had
 19   to partner with another governmental entity or an
 20   educational institution, and they partnered with NASA and
 21   they partnered with the Lorain County Community College,
 22   which was going to do some work study stuff to throw in
 23   here.   But, basically, this whole thing was instigated by
 24   NASA, as I alleged in the complaint.
 25               NASA could not apply for the grant money


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  1   because the governmental entity involved could not apply.
  2   It had to be a private business.
  3               THE COURT:    Yes.
  4               MR. WIGGIN:   And this grant was supposed to go
  5   to small businesses and the State of Ohio was going to
  6   help get them through what they called, in MBA talk --
  7   there was all sorts of touchy-feely MBA stuff here, and
  8   there was this valley of death that you have to get new
  9   businesses from, entrepreneurial businesses because
 10   that’s when they usually fail.      And the State was going
 11   to help my client get through that valley of death.
 12               But what my client ran into -- because they
 13   signed the agreement, NASA was a collaborator, and as a
 14   collaborator, they signed on with a letter of intent
 15   saying we will be a collaborator here.       They were
 16   supposed to be a subcontractor.      They were supposed to be
 17   an actual subcontractor like you’d see on a construction
 18   project, but the Government -- the Federal Government
 19   doesn’t -- it doesn’t act as a subcontractor.        So instead
 20   of that -- instead of entering into a subcontract which
 21   would have properly imposed contractual obligations on
 22   NASA, it was run through my client’s contract and were
 23   actually owed to the State of Ohio.
 24               Instead, NASA -- five months after the grant
 25   was awarded, NASA got around to signing the Space Act


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  1   Agreement.    It took another five months to get the
  2   license agreement signed.      And in the meantime, the State
  3   of Ohio will only put out grant money on a reimbursable
  4   basis.   So this whole thing is being delayed and Ms. Rose
  5   said -- well, implied it was being delayed because my
  6   client was delaying things.
  7               My client had a factory of people that it had
  8   just set up in Ohio after they moved their operations to
  9   Ohio to hire Ohio employees.      They did that immediately
 10   so they would be ready to go because Dr. Okojie at NASA
 11   said, we’ll get this off -- and the people in the
 12   Technology Transfer Department at NASA said, we’ll get
 13   this off the ground, lift-off, once we get this grant
 14   money.
 15               And, instead, what they ran into were all these
 16   bureaucratic delays because there had to be all sorts of
 17   approvals and for the -- I mean, they couldn’t do this
 18   until they did that, they couldn’t get -- license a
 19   patent until they published it in the Federal Register
 20   and went through a whole bunch of -- you know, giving the
 21   public a right to object and say, no, license those
 22   patents to me.    And so they were all sorts of delays.
 23               And the other thing that we ran into was a huge
 24   -- my little tiny client was placed in this horrible
 25   position between two mammoth bureaucracies.        NASA, which


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  1   would only do anything if it got paid up-front, and the
  2   State of Ohio, which would only disburse grant funds as
  3   reimbursement for monies already spent on approved grant
  4   purposes.
  5                THE COURT:    Mm-hmm.
  6                MR. WIGGIN:   So until this $100,000 could be
  7   paid to NASA to get the thing off the ground, the State
  8   of Ohio said, we’re not going to give you that $100,000
  9   up-front.     Now, they could have, but they didn’t.        So
 10   NASA said -- well, finally, NASA says, well -- and then
 11   the State of Ohio says, not only that, we’re not going to
 12   sign a grant agreement with you until we know that NASA
 13   is actually going to do this work that was in your
 14   business plan that NASA signed on to under a contract and
 15   that NASA is actually going to license this technology to
 16   you.    Because we’re not going to pay you a bunch of money
 17   and then find out that NASA isn’t going to give you the
 18   technology.
 19                So for months, the whole thing was in limbo
 20   while my client kept employing these people, waiting for
 21   this technology to get going.        Once NASA got the
 22   $100,000, then it was like, oh, you know, we really can’t
 23   do anything for like four more months and, you know, the
 24   contract says that you’ll start to get stuff from us in
 25   month three, but it’s actually going to be -- and this


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  1   was in April of 2012 -- it actually won’t be until maybe
  2   January of 2013.       Then there were further delays from
  3   January 2013.    And Dr. Okojie, wait, wait, wait, there
  4   were more delays.      They were like, well, maybe you can
  5   talk to Okojie in four months.      When they finally get
  6   these things, they don’t work.
  7               In the meantime, they’ve paid $100,000 to get
  8   the project off the ground; they’ve paid some more of the
  9   second payment that was due; and they’re not getting
 10   anything from NASA.      So is this an anticipatory breach?
 11   Instead, NASA is saying, well, we know we haven’t really
 12   performed what we were supposed to perform up until this
 13   point in time, but now we’re getting into this point
 14   where the next payment is due, $80,000 more.        And my
 15   client, if you read the complaint, my client get anything
 16   out of them.    They can’t get Dr. Okojie to talk to them.
 17               So I would say -- and when you talk about bad
 18   faith, by the way, this contract is -- there are four
 19   flavors of Space Act Agreements, four basic flavors.
 20   This is one of the fully reimbursable Space Act
 21   Agreements.    Well, that is the biggest misnomer in all of
 22   federal bureaucracy because it’s not fully reimbursable;
 23   it has to all be paid ahead of time.
 24               And after the grant agreement was assigned,
 25   NASA said, well, what we’d really like is for you to pay


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  1   us the $468,000 up-front.      And my client said, pay the
  2   $468,000?    My client, by the way, for every dollar that
  3   it got in grant money, it had to spend two additional
  4   dollars.    So to get the $500,000 to NASA that it was
  5   going to get, that was all grant money.       All of that was
  6   coming from the State of Ohio.      To get that $500,000, my
  7   client had to spend a million dollars.
  8               And, actually, since the State would only
  9   disburse it on a reimbursed basis, to get that million --
 10   to get the $500,000 to NASA, my client actually had to
 11   spend a million and a half dollars.       $500,000 would be
 12   reimbursed, so they’d net a million.       But of the $2
 13   million that they had to spend to get the million,
 14   $500,000 -- a million of that was attributed to this
 15   $500,000 that had to go to NASA.
 16               Now, this is fully reimbursable.      But if you
 17   get into the regulations and NASA’s a big --
 18               THE COURT:    Let me just go back over this.
 19               MR. WIGGIN:   I’m sorry.
 20               THE COURT:    Ohio would not -- why would Ohio
 21   not come up with the money?      I saw that Ohio was -- you
 22   know, the Ohio agency or whatever it’s called,
 23   (inaudible) something -- it’s suing now for, what,
 24   $345,000.
 25               MR. WIGGIN:   Under the grant agreement, my


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  1   client had the duty to account to Ohio for all of the --
  2   wherever the grant money ended up being spent.
  3               THE COURT:     Right.
  4               MR. WIGGIN:     They had to account for it in
  5   their books and records and they had to be able to
  6   account for it with invoices to show that the money was
  7   spent properly.        Now, unfortunately, because -- unlike a
  8   lot of these grants where a grant is for just one little
  9   specific purpose, this was for one specific purpose,
 10   which was to commercialize NASA’s technology.        But it
 11   involved my client’s entire operation because they were
 12   already manufacturing what I would call Version 1, V.1,
 13   pressure sensors which were silicon.
 14               Oh, by the way, do you mind, Shari?      I’ve
 15   showed you this.       I thought you might be curious about
 16   this so I brought one of the things that was delivered by
 17   NASA.   Do you mind if I show the Judge?      Whoops, I just
 18   broke the water.       Anyway, what I’m handing you is is --
 19               THE COURT:     Well, there’s a disclaimer on it,
 20   so you don’t have to worry.
 21               MR. WIGGIN:     That’s what’s called a sensor
 22   module, Your Honor.       But if you look at the very end of
 23   it, that little tiny, less-than-a-quarter-inch-square
 24   thing that you see there is either one of the silicon
 25   carbine dies --


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  1               THE COURT:    Yeah, it looks like --
  2               MR. WIGGIN:    -- or it protects the die which is
  3   underneath it.    But that’s the size of the dies.          And
  4   what it’s mounted on there is what we call the header.
  5               THE COURT:    This is a -- this thing here?
  6               MR. WIGGIN:    What?
  7               THE COURT:    The rod here?
  8               MR. WIGGIN:    Well, yes, this up here --
  9               THE COURT:    The header.
 10               MR. WIGGIN:   And I’ll be talking about this a
 11   little later.    But one of the patents -- the second
 12   patent that was licensed involved one thing only, one
 13   technology only, which was it solved the big problem of
 14   how do you mount the silicon carbide die, that little
 15   delicate piece of rock --
 16               THE COURT:    Right.   Yeah, this piece, right?
 17               MR. WIGGIN:   Yes, so there’s some -- how do you
 18   mount that to a header and then expose that in a secure
 19   enough way so that it’s secure and it’s airtight and
 20   sealed, which it has to be for sensing pressure.            But the
 21   problem you run into -- I know that you’ve probably seen
 22   lots of intellectual property cases -- I don’t know about
 23   your engineering background.       But when you heat materials
 24   up, materials all expand, and when you heat them up to
 25   really high temperatures, they expand a lot more.


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  1   Now, for each material, there’s something called the
  2   coefficient of expansion.      Different materials have
  3   different coefficients.
  4               Now, if you think of that die as a membrane say
  5   with the head of a drum that over the rim of a drum --
  6               THE COURT:    Right.
  7               MR. WIGGIN:    -- if you think of the drum rim
  8   expanding at a different rate than the -- if it expands
  9   faster than the drum head, it can stretch it so tight
 10   that it tears.    If it expands slower than the drum head,
 11   the drum head can bubble up and get deformed.        So the big
 12   secret that nobody could figure out is how do we mount
 13   this once we have it on something that will be -- that
 14   will not rupture or get damaged when they both get heated
 15   up to 600 Celsius.
 16               And that was the second patent.      So that’s what
 17   you have right there in your hand.       That was -- now,
 18   these -- the way this contract read was that NASA would
 19   be delivering between 36 and 60 of those as part of each
 20   fabrication run.
 21               THE COURT:    As just the top part or the whole
 22   thing?
 23               MR. WIGGIN:   That whole thing there.        And that
 24   would go inside a housing made by my client who would be
 25   connected to some circuit boards that were specially


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  1   engineered to translate the signal coming off of that
  2   into intelligible information.      And for each application,
  3   depending on where you put it to measure pressure, you
  4   might have a different kind of housing.
  5               My client already had a line of all this stuff
  6   and under the business plan that was submitted by NASA
  7   and my client to the State, NASA would produce those, my
  8   client would engineer additional new circuit boards to
  9   work with that technology and would put them in the --
 10   substitute those in to make V.2, Version 2, 2.0 of my
 11   client’s product line with super space-age NASA
 12   technology.
 13               So the business plan was to move the factory,
 14   hire Ohio workers, train them, put them to work making
 15   the original product line, and wait for NASA to come up
 16   with these things so we can start putting them into the
 17   original product line, bringing investors in, demonstrate
 18   them to investors.     We had people waiting in the wings to
 19   invest money which would take care of all these
 20   expenditures; show them to international distributors who
 21   were going to pay fees to have the rights to market them;
 22   show them to customers who were waiting to pay premium
 23   prices just to get one of those in their hands so that
 24   they could put it to work to save them a lot of money.
 25               THE COURT:   Mm-hmm.


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  1                MR. WIGGIN:   I forgot where I was going with
  2   that, but -- so as far as payment in advance, there were
  3   these big delays and --
  4                THE COURT:    Well, I mean, the story is of a
  5   complex nature.
  6                MR. WIGGIN:   Oh, you wanted to know about the
  7   accounting.    Well, what happened was as these delays kept
  8   going on and on and on, like the things that were
  9   supposed to be done with the money, some of it happened,
 10   but some of it didn’t happen because NASA hadn’t
 11   delivered.    So Lorain County Community College was
 12   waiting for these things so it could start developing
 13   some things with its students and doing some work.          It
 14   was never able to do that stuff.
 15               In the meantime, all of my client’s overhead
 16   was going on and on and on and on and they used some of
 17   the money to keep all of that going, which I’m arguing
 18   that the State of Ohio fulfilled the -- part of the --
 19   most of the purpose of the grant, which was to hire Ohio
 20   workers, earn Ohio taxable income, increase the tax base.
 21               But when my client, who are some engineers and
 22   they’re really bad at accounting, and so when the state
 23   auditor came to look at the books and records and spent a
 24   day there, they had a hard time verifying much of
 25   anything.    They wrote an audit report saying there’s


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  1   $348,000 that can’t be accounted for, because my client
  2   got about $900,000, by which time NASA pulled out and
  3   said we’re not doing anything anymore.
  4               My client then made some further showing to
  5   them and that number got adjusted downward and there
  6   still is a lot unaccounted for, although actually other
  7   than the fact that the money that should have been spent
  8   for Lorain County Community College to do stuff and the
  9   rest of the money that should have gone to NASA had
 10   everything -- had NASA performed as it was supposed to
 11   perform, that money was spent on other overhead and on --
 12   because my client, in the meantime, has manufactured
 13   about 15,000 of these sensors of its Version 1.0 and
 14   shipped them out to customers and continued to make
 15   money.   And so some of the money was going towards the
 16   overhead for that endeavor.
 17               And that’s why I’m hoping to settle this by
 18   proving to the State of Ohio that actually this was -- as
 19   I say, it wasn’t spent on cocaine and dancing girls,
 20   which is what the auditor is usually looking for, or
 21   gambling debts.        It was spent on legitimate purposes
 22   although they were not quite the purposes that were in
 23   the original budget.
 24               THE COURT:     Mm-hmm.
 25               MR. WIGGIN:     Now, the original budget was


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  1   submitted way, way back before these contracts were
  2   entered into.    And by the time -- by the time that the
  3   grant was awarded, NASA was already talking about
  4   charging $85,000 more than their original estimate.          As I
  5   said, we didn’t get the Space Act Agreement for months,
  6   months down the road and then didn’t get the license
  7   agreement.    $50,000 of this money went to NASA for the
  8   license agreement.
  9               Now, they often -- they’ve announced -- you
 10   know, they said to us, this is for the license, it has
 11   nothing to do with our work, which I admit is true.
 12               THE COURT:    Right.
 13               MR. WIGGIN:   But on the other hand, it was
 14   nonrefundable and it paid to get some patents that we
 15   haven’t benefitted from at all.      The other issue under
 16   the license agreement was that we committed to pay $5,000
 17   annual minimum royalties through 2025.       So -- but I did
 18   discover, Your Honor, that in the NPD, which is the NASA
 19   Policy Directive, which is one of the official things
 20   they put out to enact their regulations under the
 21   statutes, the NPD, which has been around forever, says to
 22   NASA, when instructing NASA’s people how to enter into
 23   one of these fully reimbursable Space Act Agreement says,
 24   you should always be paid up-front.
 25               But if the party you’re dealing with, your


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  1   partner, has to make a bunch of capital investments and
  2   it would be a hardship to them to have to pay NASA ahead
  3   of time for things, then you shall waive that agreement -
  4   - that requirement.     You shall.   The language that it
  5   uses in the policy directive is “you shall” waive that
  6   requirement in order that undue hardship not be inflicted
  7   on your business partner and that this whole project can
  8   move forward.
  9               Now, NASA -- you want to talk about bad
 10   faith -- or not bad faith, lack of good faith, NASA’s
 11   contract negotiators never mentioned anything about that.
 12   Instead, they said, we want $348,000 up front -- or
 13   $438,000 up front.     What NASA did agree to break this
 14   down a little into these -- into these phased payments,
 15   but they said that’s all you’re getting and they never
 16   bothered to mention, by the way, if this is going to be a
 17   hardship on you, which obviously it would be because we
 18   couldn’t get the money from the State ahead of time --
 19   but by the way, we can waive all this.       Because they knew
 20   that they were going to get the money from the State, but
 21   they never mentioned it.     And they certainly didn’t put
 22   it in effect.
 23               And then they said over and over and over
 24   again, despite the fact that they weren’t delivering
 25   anything, they said, by the way, when’s our next payment


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  1   coming?    Now, my client wanted to know what in the world
  2   did you do with the $100,000.       Because all they were
  3   supposed to do in the first -- in these first few phases
  4   -- the first phase was design.       They took the stuff --
  5   and you can see this here in the -- it’s in Article 3B
  6   and it’s mentioned in the purpose, by the way.           You can
  7   see all these specs that are laid out.        Those were my
  8   client’s specs and it says right there -- I gave you --
  9   it says right there --
 10               THE COURT:    It’s Article 3B?
 11               MR. WIGGIN:    3B(1).   It’s on page 3 of 17.
 12               THE COURT:    Okay.
 13               MR. WIGGIN:    It says right there this is the
 14   first thing that NASA is supposed to do.         It says, “NASA
 15   has reviewed and agreed upon the desired electrical and
 16   physical characteristics supplied by Spectre.”           Now, if
 17   you go down to the end of that paragraph, you’ll see in
 18   all caps, “DESIRED ELECTRICAL PERFORMANCE.”
 19               THE COURT:    Yes.
 20               MR. WIGGIN:    That’s a head -- that should be a
 21   heading.    But below that, down to 2, that’s NASA’s
 22   summary of my client’s total input into this contract.
 23   All that my client put into this contract are those
 24   specs.    And at the very beginning of that paragraph, it
 25   says, “NASA has reviewed and agreed.”        And what they


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  1   agreed to was we can do this.      They agreed we will
  2   engineer three different pressure centers to three
  3   different -- one to 150 PSI, another to 500 PSI, and a
  4   third to 1,000 PSI.     We will engineer and design those
  5   three.
  6                Now, we had every reason to expect they could
  7   do that because Dr. Okojie had been working on this for
  8   20 years.    And from time to time over the years, my
  9   client had touched base with him and said, is this stuff
 10   ready yet.    And it turned out it wasn’t ready.         And so my
 11   client, who was a little small guy, he couldn’t do
 12   anything.    He can’t do millions of dollars of R&D.        But
 13   the whole reason that they went forward with this is
 14   because Dr. Okojie finally said, wow, we’re ready to go
 15   forward and here’s this million-dollar grant program.          So
 16   they applied for the thing and there was a business plan
 17   that didn’t say, well, NASA will try to do this and NASA
 18   will use reasonable efforts to do this and NASA might not
 19   be able to do this, and if it can’t do this, too bad.
 20               What NASA said to the State of Ohio was, we
 21   will do this.    We will design these.     We’ll figure out a
 22   way to fabricate these.     We will make a certain number of
 23   them to go forward with the business plan.        And after
 24   that, we will teach Spectre how to do this so that they
 25   can continue to do it themselves through 2025.


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  1               And the State of Ohio had a company on board --
  2   this is alleged in the complaint.       It was called Teratech
  3   Corp.   And they were a bunch of engineers and specialists
  4   and they had them on board to review all these
  5   applications.    And when Teratech reviewed this
  6   application, they had a ceramics engineer who knew this
  7   stuff inside out.      He knew all about the efforts to try
  8   to come up with a silicon carbide pressure sensor and he
  9   submitted written questions that NASA had to respond to
 10   and they had to get together a meeting where the
 11   scientists from NASA came down and he had one question
 12   for them.    Can you do this and will it really have zero
 13   drift up to 300 Celsius?     That meant something to all
 14   these people.    And what will the drift be up to 600
 15   Celsius?
 16               And NASA said, absolutely, we are firmly
 17   committed to this, we are behind it and there is zero
 18   drift up to 300 Celsius.     And the consultant who’s being
 19   paid by the State of Ohio to protect the State of Ohio
 20   said, that’s all I need to hear.      And he told the State
 21   of Ohio this is one you should take because there’s a
 22   great prospect here.
 23               So when we talk about this as being a research
 24   and development project --
 25               THE COURT:   Well, was he wrong on that?


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  1               MR. WIGGIN:   Well --
  2               THE COURT:    I mean, was NASA able to do this?
  3               MR. WIGGIN:   Your Honor, I don’t really know
  4   because -- and it’s alleged in the complaint, all we ever
  5   got after many delays, after the $100,000 had been paid,
  6   after more of the second payment had been paid and after
  7   a whole lot of delays and a whole lot of hemming and
  8   hawing, all we got were three of those.        Dr. Okojie said,
  9   well, I’ll send you four.      I’ve got two I’ll go ahead and
 10   send you and I have another two I’ll send you, but he
 11   ended up only sending one more.      And they were all
 12   supposed to be 1,000 PSI.      One of them was broken.
 13               Now, Dr. Okojie is only -- he’s four minutes --
 14   he’s only four miles away from Spectre.       They’re at the
 15   Cleveland Airport.     And my client’s west of there.       They
 16   just had to deliver this four miles.       One of them was
 17   broken, it didn’t work at all.      That was confirmed.      The
 18   other two, one of them was 1,000 PSI.       It tested out to
 19   that.   The other one tested out to 500 PSI.       It was
 20   supposed to be 1,000, but it was 500.       Dr. Okojie said,
 21   this is really interesting.      We measured this and it
 22   turned out to be 500.     Hmm, I wonder why.
 23               Well, my client then tests -- tried to test
 24   these things and get them to work right.        Never could.
 25   Couldn’t get them to work right.      Dr. Okojie sent some


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  1   little graphs and said, here are all our test results.
  2   My client could never get them to work right.        The first
  3   thing he said was, well, you guys don’t know what you’re
  4   doing.   And they said, well, come on down and -- come on
  5   over some afternoon and show us as soon as possible.          Ah,
  6   I can’t do that.       Come on over and we’ll show you how
  7   we’re testing this.       Oh, I can’t do that.
  8                Well, my client has taken these things to the
  9   experts.     They’ve confirmed that my client is doing it
 10   right.   In the meantime, my client has manufactured and
 11   shipped 15,000 of these things.      Every one of them has to
 12   be tested.    Every one of them has to be custom -- they
 13   calibrate them because each one performs a little
 14   differently.    Every one of them has to be calibrated
 15   before they’re sent out.      My client does all that stuff.
 16   So we’re fully prepared to go forward and prove that,
 17   yes, we did know what we were doing.
 18               Now, why would Dr. Okojie say, well, I don’t
 19   know, there’s nothing wrong with these?       But they had no
 20   more to deliver.       We’re like where are all -- where are
 21   the hundreds of spare dies that we should have -- I mean,
 22   loose dies off the wafer, because they make them one
 23   wafer at a time, like this big.      There’s maybe 400 of
 24   those.   That’s what the first patent is all about.         The
 25   first patent is how do you bulk manufacture hundreds of


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  1   these at a time.
  2               That’s the other thing we licensed, was you
  3   show us how to do this, Dr. Okojie, you show us how to do
  4   this, and this contract -- the license agreement -- NASA
  5   didn’t do -- all NASA does is license.       That’s all they
  6   have to do under the license agreement.       They didn’t have
  7   to teach anything.     But under the Space Act Agreement,
  8   they were supposed to transfer the technology.           Now, this
  9   is something they do all the time.       And I’ll show -- you
 10   know, we’ll go over the -- the language in here says that
 11   NASA will get all this data together, do everything that
 12   -- as necessary to allow Spectre or its vendors to
 13   replicate these three sensors that we have designed and
 14   engineered for you.
 15               And my client said, well, let us come in and
 16   videotape this stuff -- that’s what you usually do with
 17   something like this -- while you’re making it.           They
 18   said, ahhh, we can’t have you in to videotape it, it’s a
 19   secret, we’re licensing it.      They said, we’ll tell you
 20   what, you won’t let us in to videotape it or observe --
 21   well, let’s come in to observe.      Ahhh, we can’t let you
 22   do that.    Well, then have one of your people videotape it
 23   and give us the videotape.      Ahhh, we can’t do that.
 24               Well, I suspect -- this is what I suspect and I
 25   think the discovery is going to show this because it was


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  1   written in the complaint, what eventually happened here
  2   was that one day after my client had complained to the
  3   NASA Inspector General and supposedly was going to have a
  4   confidential investigation done about my client’s
  5   complaints about why nothing was happening despite how
  6   much money they spent and why are we getting all these
  7   lies.     That Inspector General -- assistant whatever he’s
  8   called, he went right off to NASA’s headquarters and he
  9   told the management at NASA Glenn about these
 10   allegations.
 11               And so, all of a sudden, Ms. Rose’s predecessor
 12   -- actually, Ms. Puchmeyer’s predecessor out there at
 13   NASA, they started having phone calls and meetings and my
 14   client’s like, well, thank God, finally we’re going to
 15   have this meeting where we’ll sit down with Dr. Okojie
 16   and we’ll figure out what’s wrong here, because my client
 17   still thinks that he’s going to get this to work because
 18   he has so much invested in it.      Instead, counsel for NASA
 19   says, oh, no, we’re not going to have that kind of
 20   meeting, we’re going to have a meeting where we talk
 21   about what’s going to happen with this contract.
 22               So when they finally get together, he’s got two
 23   things.    He’s got a check for -- actually, my client paid
 24   $170,000 under the Space Act Agreement, but NASA refunded
 25   $5,000 for -- I forget the reason, but they said, well,


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  1   we don’t -- we owe this back, you paid us too much, and
  2   then there was $50,000 under the license agreement.          So
  3   he’s got two things.     He’s got a check for $215,000 in
  4   his hand, which is all the money that’s been paid and
  5   he’s got a mutual termination agreement which says, sign
  6   this, we’re terminating the contract, and you release
  7   NASA from any further liability for anything here.
  8               Now, I’ve been around federal contracts and
  9   federal agencies to -- I mean, I don’t know if this is
 10   what happened, but federal agencies don’t normally do
 11   this.   In all of these contracts -- in fact, if you look
 12   at the termination clause here, which we’re going to look
 13   at later, you’ll see that it says if NASA terminates this
 14   contract, we don’t have to give you anything back.          We
 15   don’t have to give you anything regardless of what you
 16   got out of us.    Ms. Rose was -- she seemed to be kind of
 17   proud to tell you about that.
 18               But at any rate, it’s very unusual for a
 19   federal agency who doesn’t have to -- NASA does say, in
 20   their discretion, if there’s some costs that maybe should
 21   be reimbursed, we might think about doing that.          But in
 22   my experience -- and you’ve heard a lot of these cases
 23   for 32 years, I’m sure -- it’s very rare for a federal
 24   agency to come forward and say, here’s a complete refund
 25   for all the money that you’ve paid to us.        Now, that


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  1   suggests to me that counsel for NASA, in looking into
  2   these complaints that my client had, found out that there
  3   was something very bad going on inside those labs.
  4               Now, I think, frankly, we had to plead this as
  5   a breach of contract case, but I think because we
  6   can’t -- we can’t sue the Government for fraud unless I
  7   go for a private bill in Congress, which I thought about
  8   doing, but I think that it’s quite possible that what
  9   happened here was fraud.      I think we are going to find
 10   out that Dr. Okojie never fabricated a wafer, never
 11   designed any of these specifically for my client, and
 12   that when he -- and that, in all likelihood -- he never
 13   numbered them as they were supposed to be numbered, but
 14   in all likelihood, when he finally delivered these three,
 15   one of which was broken and two of which didn’t work,
 16   they were some things that were just sitting around the
 17   lab for some other customer of NASA that they had been
 18   working with.
 19               THE COURT:    Well, if that was the case, if
 20   there was no workable whatever these things are called,
 21   the --
 22               MR. WIGGIN:   Pressure sensors.
 23               THE COURT:    Pressure sensors, then shouldn’t
 24   you be asking for restitution, all the monies paid,
 25   putting everyone back in the position they were in before


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  1   the contract was ever entered?
  2               MR. WIGGIN:    Shouldn’t I be?
  3               THE COURT:    That seems like a -- yes, shouldn’t
  4   --
  5               MR. WIGGIN:    I am.   I am asking for the
  6   $215,000 back.
  7               THE COURT:    It’s a total failure -- in order to
  8   do that, the Court would have to find a total failure of
  9   the purpose of the contract and everyone would be put in
 10   the position they were before they met.
 11               MR. WIGGIN:   I’m not sure.    I mean, the measure
 12   of damages here -- I mean, I would contend -- and I said
 13   this in the response brief -- that this issue of payments
 14   is a real issue of fact because --
 15               THE COURT:    Right, and --
 16               MR. WIGGIN:   And counsel may not have known
 17   this because I know that they -- they’re not NASA’s
 18   counsel and they don’t know what happened.        But that, in
 19   fact, there had been lots of conversations with NASA’s
 20   people when the State of Ohio was -- and they said, well,
 21   if you could just get us $20,000, if you could just get
 22   us that.
 23               But the final $25,000, by the way, Dr. Okojie
 24   called up and said, you know, I’ve got the rest of the
 25   sensors that I owe you, the rest of the 1,000 PSI sensors


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  1   and so my clients, they -- my client said, well, don’t do
  2   the 150s and 500s until we have this worked out because
  3   we still haven’t seen that you’re actually making
  4   anything that works.      He said, well, I have the rest of
  5   the 1000s, and there should have been between 36 and 60.
  6   So he had already loaded three, so there should have been
  7   like -- no, I’m sorry, 12 -- one-third of that, 12 and
  8   20.     He delivered three.   There should have been 9 to 17
  9   of them.
 10               THE COURT:    Mm-hmm.
 11               MR. WIGGIN:   And instead we got six.        He said
 12   if you could just pay the $25,000, then I’ll deliver the
 13   rest of these.    So they paid another $25,000, even though
 14   they had not been shown that anything was being done.
 15   And they thought, well, at least we’ll get the rest of
 16   the 1000s, and they got six.        And when they tested them,
 17   they were only good to 200.      And they emailed Dr. Okojie
 18   and they said, well, what are these rated at?        We only
 19   can test them to 200.     He’s like, yeah, they’re 200.
 20   Well, 200 wasn’t even in the contract.       And that was when
 21   my client completely blew his top and went to the
 22   Inspector General and said, something weird is going on
 23   here.
 24               THE COURT:    Mm-hmm.
 25               MR. WIGGIN:   So I don’t know.    That seemed like


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  1   fraud in the inducement.      But what we are alleging -- and
  2   the reason I think that we have a right to get all of our
  3   damages here -- is that NASA gave -- when counsel
  4   tendered the $215,000 and the mutual termination
  5   agreement, my client said, well, hold on here, you’ve got
  6   this deadline we have to accept by; I don’t have a
  7   lawyer; I need to talk to the State of Ohio because I’m
  8   worried about my obligations to them.       And I can’t just
  9   release -- I mean, they were supposed to be a
 10   subcontractor.    I can’t just release you from this
 11   without worrying about what the State of Ohio is going to
 12   say about that.
 13               THE COURT:    Mm-hmm.
 14               MR. WIGGIN:   So he tried to talk to the State
 15   and then the State was like -- you know, it was hard to
 16   get them to do anything.     And they’re like, can’t you
 17   talk to NASA and say, just slow this down, hold this off
 18   a bit until we can have a big meeting.       And they said,
 19   well, we’ll try to have a meeting.       And my client said,
 20   well, don’t have a meeting without us because he didn’t
 21   want them to meet with -- the State with NASA because for
 22   all he -- he knew what Dr. Okojie was going to tell them.
 23   We’ve done everything right and these people just don’t
 24   know what they’re doing, they can’t test them.
 25               Well, in fact, the State of Ohio went ahead and


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  1   had a meeting with -- well, it was a conference call --
  2   with NASA, didn’t include my client, and afterwards said,
  3   we’ve heard all we need to hear, you’re going to have to
  4   deal with this problem, we’re not involved.        At that
  5   point, the deadline came and went.       My client did talk to
  6   a lawyer who tried and said, well, maybe you should take
  7   the money, because I think most lawyers that have ever
  8   tried to sue the Federal Government would say, geez, if
  9   the Government is trying to give you all your money back,
 10   maybe you should take that and run.       But -- so they
 11   called NASA and NASA said, too late, we’re not going to
 12   give it back to you.
 13               But at that point -- I mean, this was in April
 14   of 2014.    At that point, NASA said, we’re not performing
 15   further.    We’re not performing further.     We’re not going
 16   to perform this contract for you.       We don’t care if you
 17   give us more money, we’re not performing it further.          And
 18   so they just waited it out until the contract terminated
 19   in -- I think it was in December, in December of 2014.
 20   Seven more months they did absolutely nothing.
 21               And so my position is that it didn’t really
 22   matter.    They would say more -- you know, conditions
 23   precedent -- precedent were not satisfied.        We think
 24   we’re going to prove that we paid more money than we ever
 25   should have paid to them because by the time you got into


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  1   the second payment -- and you were asking about this, so
  2   I’ll point out something sort of interesting.        If you’ll
  3   turn to page 6, which Ms. Rose showed you, the financial
  4   -- Article 5, the Financial Obligations.
  5               THE COURT:    Yes.
  6               MR. WIGGIN:   Now, notice that the first one,
  7   Milestone 3, you pointed out, it says, $80,000 prior to
  8   the start of Milestone 3.        Well, it’s sort of hard to
  9   figure out exactly what that means because if you turn
 10   back a page, you’ll see that Milestone 3 is defined as
 11   NASA completes sensing element test.       So the payment is
 12   to be made before the start of something, but the
 13   something that they’re talking about is actually the end
 14   of something.    Okay?
 15               Presumably, if you look at these descriptions
 16   here, the first thing they’re going to do once they get
 17   the $100,000 is 1 and 2.     They’re going to design the
 18   wafers, they’re going to complete the design, and they’re
 19   going to actually fabricate them.       They’re going to take
 20   these silicon carbide disks, they’re going to put --
 21   they’re going to build up the circuitry inside of a dome
 22   with all sorts of high energy and stuff.        They’re going
 23   to build up the circuitry on the front end, they’re going
 24   to flip it over, they’re going to etch out the diaphragms
 25   on the back end for hundreds of these at a time.            That’s


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  1   all supposed to be done by the end of the third month
  2   from the signing, Milestone 2.      So that’s included within
  3   the 100,000 bucks.       Makes sense.
  4                Milestone 3 is supposed to be concluded -- and
  5   Milestone 4, by the way -- are both supposed to conclude
  6   two months later at the end of month five.        So where it
  7   says payment before the start of Milestone 3, it might as
  8   well say, “and Milestone 5,” because they’re supposed to
  9   take the same amount of time.       But that is -- Milestone 3
 10   is complete sensing -- sensing the elements, and that’s
 11   they’re going to test each one of those 100s and they’re
 12   going to figure out which ones don’t work, get rid of
 13   those and take the ones that work and get a bunch of them
 14   mounted on the -- mounted on the header.
 15               THE COURT:    Mm-hmm.
 16               MR. WIGGIN:    That’s “complete the sensing
 17   test.”   Number 4 is complete the header fabrication.         So
 18   that was supposed to all be done by the time the next
 19   $80,000 got paid.
 20               THE COURT:    Mm-hmm.
 21               MR. WIGGIN:    Now, we didn’t have any evidence,
 22   at the time we made the payment, I don’t believe, I might
 23   be wrong about this, but we didn’t have any evidence that
 24   any of it had been done because nothing had been
 25   delivered.    And, yet, they went ahead and they started


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  1   making these payments.     And at that point, you know,
  2   you’re supposed to be in to Numbers 5 and 6, which is
  3   covered by that $80,000, and that’s all -- those are all
  4   supposed to be completed one month from then.        It’s just
  5   a little additional testing.
  6                And then 6 is just putting these things in a
  7   box and delivering them four miles down the road.           That’s
  8   Number 6.
  9                THE COURT:   Mm-hmm.
 10               MR. WIGGIN:   Because once Number 5 was
 11   completed, they’re tested, everything’s supposed to be
 12   delivered.    So most of that second payment had been made
 13   and none of this had been received.
 14               So my position is is that NASA had already
 15   breached the contract.     NASA had breached the contract.
 16   There was not any -- they hadn’t proved that they were
 17   entitled to any of the money that they had received yet.
 18   And they’re asking for more money before they’ll do
 19   anything.    And then they come into court and they say,
 20   well, you’re entitled to anything because you didn’t make
 21   all these additional payments of 300,000 more dollars.
 22               Well, Judge, because in the meantime there was
 23   more and more and more delay and then they show up with a
 24   check saying, here’s your money back, we’re not doing
 25   anything more.    That’s anticipatory breach of contract,


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  1   repudiation of the contract.        So at that point, what were
  2   we supposed to do?        Were we supposed to write a check for
  3   $368,000 and say, well, here, here’s the rest of our
  4   money?    Hopefully, the State of Ohio will reimburse us
  5   for this.    We don’t know if you’re going to do anything;
  6   you said you wouldn’t.
  7               THE COURT:      Yeah.
  8               MR. WIGGIN:      So that’s -- and I think there’s a
  9   bunch of factual issues in there.        They had agreed to
 10   certain things.        And I just don’t think that you can
 11   decide that issue on a 12(b)(6) motion.
 12               THE COURT:     Okay.
 13               MR. WIGGIN:     Now, the Court -- they said I pled
 14   myself out of court by saying, well, this one payment was
 15   made, but that was really just to establish something in
 16   time.    Okay.
 17               THE COURT:     Okay.
 18               MR. WIGGIN:     That was probably more than you
 19   wanted to hear, but, hopefully, that answers the question
 20   of what I had to say about the payments.
 21               THE COURT:     Okay.
 22               MR. WIGGIN:     Okay.   Obviously, I’m a little
 23   outraged by all this.       The Government has said this case
 24   should be dismissed because of the boilerplate in our
 25   contract.    Now, remember, this contract -- we didn’t have


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  1   this contract for seven months after the grant was
  2   awarded.    They said, well, we don’t have anything to do
  3   with the grant, even though all the money was coming from
  4   the grant to pay them.       But these terms got agreed to
  5   months and months and months after we were already
  6   obligated to the State of Ohio under all these things.
  7   It should have been a subcontract, but they -- the
  8   Government wouldn’t do that.
  9               They then say -- so there are these limitations
 10   that we didn’t promise anything to you at all.           Now, I’m
 11   really glad that you picked up on the blueberry muffin
 12   thing because the other part of that -- and I think
 13   that’s a decent response.      We should have rejected it for
 14   improper tender.       And I think that -- maybe that’s what
 15   happens because usually when you’re talking about
 16   warranties -- how I’ve always thought about warranties is
 17   that a warranty is something that usually applies to
 18   future performance.      It’s going to continue to do this
 19   for a certain amount of time.      It will have these
 20   characteristics that you can rely upon.
 21               And the warranty is usually something that
 22   kicks in after there’s been a tender of delivery under a
 23   purchase contract and the buyer has a right to inspect
 24   the goods that have been delivered, tendered, to see
 25   whether they conform or not to the contract.


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  1               THE COURT:    Mm-hmm.
  2               MR. WIGGIN:    Okay?    So we should have been
  3   getting dozens of these sensors that were mounted like
  4   that and could have immediately been sent out and shown
  5   to our customers, yes, this stuff works, this isn’t a
  6   dream, it actually works, the future is here.        And we
  7   should have been able to -- we should have hundreds of
  8   more of those, of the loose dies, that we could have used
  9   to have Lorain County Community College start to mount
 10   them on more of the headers that were being manufactured.
 11               Now, one thing I haven’t mentioned yet -- it’s
 12   in the complaint -- I said that that second patent was
 13   all about mounting those things.       Now, it turns out -- so
 14   the whole reason we were licensing the second patent was
 15   to find out how to do that, the secret of doing that.
 16   And when this contract was first tendered to us by NASA’s
 17   lawyers, if you will turn to page 4 of 17, Number 5 --
 18   that’s Activity Number 5.      Now, this is after all of the
 19   dies have been made, the hundreds of them, and this is
 20   when you start to mount these things.
 21               It says -- oh, I’m sorry, I meant paragraph 4.
 22   It says, “NASA will fabricate ceramic headers.”
 23               THE COURT:    Where is this?   What page?
 24               MR. WIGGIN:   On page 4 of the contract.
 25               THE COURT:    Okay.


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  1               MR. WIGGIN:   These are all the things NASA says
  2   they will do, okay?     This is NASA’s part of the
  3   performances.    Number 4 is header fabrication and
  4   assembly.     You’ve got that right in front of you.        “NASA
  5   will fabricate ceramic headers to the specifications
  6   listed in Table 1 above,” and then they’re going to
  7   attach the sensors to the headers.       The next sentence
  8   says, “The header fabrication and attachment of sensors
  9   to the headers will be performed by Sienna Technologies,
 10   Woodinville, Washington, at NASA’s expense, under NASA’s
 11   direction.”
 12               Now, my client had never heard of Sienna
 13   Technologies.    Here we are seven months after the grant
 14   was awarded, going on a year after we first started
 15   talking about this, we had never heard of Sienna
 16   Technologies.    This is the whole second patent.        And my
 17   client assumed, well, Sienna Technologies is a
 18   subcontractor.    NASA’s going to -- they’re going to
 19   design these things and they’re going to -- and then
 20   they’re going to farm out manufacturing them and mounting
 21   these things to a subcontractor.      And that’s -- that, in
 22   fact, is what happened.     The next paragraph says, “They
 23   will be delivered back to NASA by Sienna Technologies.”
 24   Okay?
 25               Well, during -- after this was all signed and


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  1   after my client paid a bunch of money to them, we got
  2   into the part of the contract where the technologies
  3   transferred, okay?       And we never did get any instructions
  4   or specifications for these headers.       They never told us
  5   what the dimensions were, what the designs were, what
  6   materials they were made out of, never got any of that.
  7   We never got that from Dr. Okojie.
  8               And he said, you’re going to have to just
  9   figure this out yourself.      We’re like, we paid you for
 10   the patent, we paid you for it.      He said, you’re going to
 11   have to figure it out yourself.      And they said, well, at
 12   least tell us what the paste is, the conductive paste is.
 13   The paste is -- the die is glued down with something
 14   called paste, which will cure and it can withstand high
 15   temperatures.
 16               This is a very special thing because, again,
 17   this is something that supposedly Dr. Okojie discovered
 18   and he got issued a patent for.      And we would -- this was
 19   what -- the biggest secret we needed to know is what is
 20   that paste, what is that magic substance that holds these
 21   things together so when you heat them up to a high
 22   temperature, they don’t rip apart.
 23               THE COURT:    Well, wasn’t it disclosed in the
 24   patent?
 25               MR. WIGGIN:    It was disclosed that you have to


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  1   use a paste --
  2               THE COURT:      Oh.
  3               MR. WIGGIN:      -- as part of the method because
  4   it was a method --
  5               THE COURT:      The formula for the paste was not
  6   disclosed?
  7               MR. WIGGIN:      No, no.
  8               THE COURT:      That was not part of the patent.
  9               MR. WIGGIN:      It says a conductive paste.    It
 10   was part of the method, because this is a method patent.
 11   It says, do this, do this, do this, here’s the design,
 12   look at these pictures, do this and do this.        So that’s
 13   why we -- when -- essentially, when he went about
 14   pretending to transfer the technology, he always treated
 15   this under the -- and he’s an inventor, he has more
 16   patents than this that NASA now holds, a bunch of them.
 17               But he’s very familiar with patent law, I
 18   guess, and he really treated this as the sort of
 19   disclosure of the art that’s necessary as a precondition
 20   to be issuing a patent, which I’m sure you’re aware
 21   means, you know, you have to show enough of the
 22   technology to enable the -- to comply with the statute
 23   and say, okay, this is specific enough for disclosure for
 24   us to issue it.        His idea was that’s the minimum.
 25               Now, NASA, since they wanted these sensors and


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  1   it was going to make money off of this, we think $15
  2   million through 2025, they should have been head over
  3   heels saying, what more information do you need, what can
  4   we do to help, how can we make this happen fast?            And
  5   instead it was like, well, I’m not giving you that
  6   information, you’ll have to figure it out on your own.
  7               We asked, well, what about the masks for doing
  8   this -- masks when it was etched from behind, when
  9   circuits are deposited with ions on the front, all of
 10   that is accomplished with masks.      Several layers of masks
 11   on the front, one on the back.      You know, masks are like
 12   stem cells.    You know, in grade school that you used to
 13   write your name, plastic stencils.
 14               THE COURT:    Yes.
 15               MR. WIGGIN:   They’re like that except that
 16   these are on a microscopic level.       You can’t see them
 17   with the human eye.      And this is not a complicated
 18   circuit.    It’s essentially an H.    The (inaudible) bridge
 19   is an H.    The patent on the back is an annulus, like the
 20   target symbol.
 21               THE COURT:    Yes.
 22               MR. WIGGIN:   But -- so the masks are not
 23   complicated geometrically.       And you make those and then
 24   you use -- a computer program makes them and then you
 25   replicate 400 of them on the disk for one big mask that


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  1   has all those little ones.       My client said, well, where
  2   are the masks, when are you going to transfer those to
  3   us?     Because the contract says they will record the
  4   masks.     They will record all the data they use and
  5   they’ll provide it as necessary and required to allow us
  6   to make this stuff.      Dr. Okojie said, well, you don’t get
  7   the masks.     The contract doesn’t say you get the masks.
  8                And we then pointed out, the contract says you
  9   will record the masks and you will provide all this
 10   stuff.    And he says, oh, yes, well, the contract says
 11   I’ll record the masks, but it doesn’t say I’ll give it to
 12   you.    I mean, if you want to talk about lack of bad
 13   faith...
 14                So -- where was I going with all that?         At any
 15   rate, the technology transfer, we never got to the point
 16   -- and we were finally told when we said, okay, we’ve got
 17   to make these things ourselves.       Well, at least if we
 18   have to design this ourselves, what was the conductor
 19   pace?    We really need to know that.      At that time, they
 20   were told, these headers, the materials used in them and
 21   the conductive paste, are all the proprietary trade
 22   secret information of Sienna Technologies and you can’t
 23   have it.
 24                We paid for this patent and as part of this --
 25   it wasn’t just because we paid for it because we were


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  1   willing to go spend millions of dollars of research and
  2   development to figure out how to do it ourselves, we paid
  3   for the patent and for the technology transfer in order
  4   that this -- all of this could be taught to us.          Not the
  5   teaching that occurs through reading the claims of a
  6   patent, but the teaching that occurs by somebody who
  7   actually knows how to practice the patent and has
  8   perfected and done all the research and development and
  9   says, it’s ready for commercialization, it’s ready to be
 10   manufactured and sent to market, and that’s what they
 11   told us.
 12               So when they point at the -- as NASA’s attorney
 13   did when he wrote the final agency decision, when they
 14   look at the first sentence of Article 2 -- and I gave you
 15   a copy of Article 2 -- the first sentence -- and this is
 16   part of their boilerplate, you know.       “The purpose of the
 17   Space Act Agreement is to” blank, fill in what you say
 18   the purpose is.        And they filled that in.   And that is
 19   inconsistent with the business plan that they submitted
 20   to the State of Ohio.
 21               What was submitted was commercialization.
 22   We’re going to put these things on the market and we’re
 23   going to sell it to people and make a bunch of money, not
 24   we’re going to determine whether it’s worth putting
 25   additional money in for additional research and


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  1   development over the next several years in the hopes that
  2   maybe we’ll discover how to make it.       And they told the
  3   State of Ohio’s consultants that, too.       We know how to
  4   make it.
  5               So my clients, who were not represented by
  6   counsel and who basically had this document -- by the
  7   way, these contracts are in a computer.       They actually
  8   have all of -- they said in the brief -- and I know Ms.
  9   Rose didn’t write the brief -- they said in the brief,
 10   oh, the Spectre calls this boilerplate.       It is
 11   boilerplate.    They have -- all of these -- almost every
 12   single word that you read in this contract, every chunk
 13   of it, is in their manual for how to put these things
 14   together.
 15               They took their manual and they put their
 16   manual into their database -- and I suppose they have
 17   some -- a software interface where they can plug them all
 18   together and that software also is called SAAM, the Space
 19   Act Agreement Maker.     That software also tracks all of
 20   these steps required by the regulations and their own
 21   internal procedures for putting together one of these
 22   contracts and reviewing it and approving it and all that
 23   stuff.
 24               And then I think -- this is what the NASA
 25   publication says.      So if I’m wrong about this, I hope


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  1   you’ll tell me about it sometime.       But at the end of the
  2   day, they also store the finished agreements in there.
  3   So they have -- all of this stuff is -- and what you have
  4   before you, these are all -- with the exception of a few
  5   little words that were put into it to put my client’s
  6   name in and put in a purpose and these specs and the
  7   dollar amounts, everything else is standard language with
  8   blanks in it to put those things in.
  9               THE COURT:    Right.
 10               MR. WIGGIN:   And this contract was put in front
 11   of my clients and basically they said take it or leave
 12   it, which you could -- that’s what the Federal Government
 13   does.
 14               So my client didn’t really appreciate that some
 15   day somebody was going to show up and stand up in court
 16   and say, Your Honor, we never said we’d actually make
 17   these things or actually design them or actually
 18   fabricate them and give them to them; we said we’d try to
 19   do this, and it was all for the purpose of figuring out
 20   whether it was worth going forward.       We’ll take a half
 21   million dollars plus $50,000 under the patent agreement,
 22   but we never said that we could actually do anything with
 23   any of this.
 24               So I’ve got some questions that I think you
 25   should ask yourself, the trier of fact someday will ask


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  1   themselves when we try to figure out what does this --
  2   what do these contracts mean because when you look --
  3                THE COURT:    These are the questions you had on
  4   your reply to the Government’s -- it was the list of
  5   questions.
  6                MR. WIGGIN:    Right, right.
  7                THE COURT:    Yes, I’ve read those.
  8                MR. WIGGIN:    And I think if you look at the
  9   good faith and fair dealing -- and I have to say, I have
 10   read -- I had done some research and I had read this law
 11   before I drafted the complaint and I did a real -- I made
 12   a real effort to put allegations in the good faith and
 13   fair dealing paragraphs about things that were not merely
 14   duplicative of contractual performances required by the
 15   Space Act Agreement itself.      I tried to allege things
 16   that were not in the express terms of the contract, but
 17   that fell in with the Federal Circuit and the Court of
 18   Federal Claims doctrine of good faith and fair dealing.
 19               Now, I have to say that having studied that a
 20   bit, I have to sort of paraphrase the words of Justice
 21   White in the obscenity cases and say, I don’t really know
 22   what obscenity is, but I know it when I see it.
 23               THE COURT:     I think it was Potter Stewart
 24         MR. WIGGIN:      That’s right, it was Potter Stewart,
 25   I’m sorry.    I knew it was a Sixth Circuit judge, but --


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  1   it was Potter Stewart, I’m sorry.
  2               But you get my point.    If you read enough of
  3   the Federal Circuit cases, you sort of -- and you try to
  4   put them all together and reconcile them with each other,
  5   you know -- and by the way, I noticed that the -- on that
  6   issue, Ms. Rose invoked the Metcalf case, the trial court
  7   in the Metcalf case, which the Metcalf Federal Circuit
  8   decision found that the trial judge had incorrectly
  9   applied the case law -- the rules that were stated in
 10   Precision Pine because Precision Pine, which the Metcalf
 11   court said that’s a special case, but that was the one
 12   where they talked about depriving -- reappropriating the
 13   benefit that the contract was supposed to bestow upon the
 14   other party.
 15               And it wasn’t enough that the Government acted
 16   to reappropriate those benefits, but they had -- you had
 17   to show that they specifically targeted the other party
 18   for that -- for that action.      And the trial judge in the
 19   Metcalf case applied that rule and said, well, there was
 20   no specific targeting here.      Yes, they did -- I guess you
 21   could say that they reappropriated some stuff, but
 22   there’s no specific targeting here or evidence of any ill
 23   will, and so I’m going to find that there was no breach
 24   of the duty of good faith.      And the Metcalf court said,
 25   no, you’ve got this wrong.


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  1               The Precision Pine court did not intend that
  2   that is the entire rule of good faith and fair dealing.
  3   It’s just something that they pointed out that fit the
  4   specific facts that were raised by that case, which you
  5   might recall involved a different government agency
  6   enacting some rules that prevented Precision Pine from
  7   logging, and so they wanted to blame it all on the
  8   whatever -- the Bureau of Land Management or whoever gave
  9   them the logging rights.     And the Court said, basically,
 10   well, it wasn’t their fault, the Government didn’t
 11   specifically do this to screw Precision Pine, that was
 12   just something that happened, so we’re not going to let
 13   you make the claim.     Anyway, the Metcalf case
 14   straightened it out.
 15               But let me just say that I’m not sure exactly
 16   what this all means.     Now, to listen to the Government’s
 17   briefs -- and I think she sort of suggested this today --
 18   this disclaimer of warranties -- oh, I’m mixing up
 19   subject matters.
 20               But consistent with Metcalf, I think you have
 21   to say that it’s something besides this -- you don’t even
 22   have to have this specific evil intent on the part of the
 23   Government to find that they failed to comply with their
 24   duty of good faith and fair dealing.       In fact, the Courts
 25   have all pointed out that not acting in good faith is


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  1   different from acting in bad faith.       And we’re not
  2   suggesting -- well, I don’t know, Dr. Okojie may have
  3   acted in bad faith.     I won’t say NASA did all by itself.
  4                But in looking at these things, I think you
  5   have to ask yourself a number of questions.        One is would
  6   a tiny family business risk everything, as my client did,
  7   if they didn’t think NASA would deliver on these
  8   promises?    They say it’s a gratuitous contract.         Would a
  9   tiny family business have agreed to pay NASA nearly
 10   $500,000 in state grant funds without expecting anything
 11   in return?    Because that’s what they tell you.         We don’t
 12   really have any duties under this contract.        This is
 13   illusory.
 14               Would a tiny family business agree to spend
 15   $1.5 million of its own money if it expected nothing?
 16   Because in the end, they had to spend -- in the end, they
 17   committed to spend $3 million here to be reimbursed a
 18   million.    $500,000 of it was going to NASA.
 19               Would they risk all of their good business
 20   relationships that they had by promising all these
 21   customers all over the world and distributors, we’re
 22   going to deliver space-age technology to you and it’s
 23   going to change -- it’s going to change everything about
 24   pressure sensor technology?      Would they make those
 25   promises to people if they didn’t think NASA was going to


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  1   actually deliver this stuff?
  2               Would the State of Ohio have agreed to put a
  3   million dollars of taxpayer money into an R&D project
  4   that wasn’t going to result in anything happening?           I
  5   told you that they made NASA tell them, yes, this is
  6   real.
  7               Would a tiny family business enter into a
  8   patent license agreement agreeing to pay $50,000 for
  9   patent licenses that it couldn’t do anything with?
 10               Would they commit to paying $5,000 a year
 11   through 2025 for minimum royalties when they might not be
 12   able to make any money at all?      Or did they think that
 13   NASA would ever take all this money and then terminate
 14   the license agreement on the grounds that, well, Spectre
 15   can’t commercialize the technology?
 16               THE COURT:    Mm-hmm.
 17               MR. WIGGIN:   When the reason Spectre could not
 18   -- and I would submit when we’re talking about bad --
 19   fair dealing and good faith, that the Courts do recognize
 20   -- and this, again, is kind of a fuzzy sort of doctrine.
 21   But if the Government does something to interfere with or
 22   frustrate the other side’s ability to perform the
 23   contract and get the benefit of the contract, that is not
 24   acting in good faith and that’s not fair dealing.           And
 25   that’s why I allege that wrongfully -- you know, they


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  1   acted by the letter of the termination agreement in the
  2   license agreement by terminating.       But when they’re the
  3   ones who brought about the circumstances that allowed
  4   them to exercise that right of termination, that is not
  5   good faith and fair dealing.
  6               The question that all of those -- the answer to
  7   all of those questions is no.      None of that would have
  8   happened because Spectre wouldn’t have done any of that.
  9   The State of Ohio wouldn’t have done -- wouldn’t have
 10   granted the money if they thought that none of this would
 11   happen.    And the Government would say, well, that’s
 12   stupid, that’s their own problem, freedom of contract.
 13   If they want to make a bad contract, you know, so be it.
 14   That’s -- none of this is really relevant.
 15               And it is really relevant because if there’s
 16   any doubt in your mind about what any of these things
 17   mean -- and in judging good faith and fair dealing,
 18   you have to look at the intent of the parties and what
 19   they -- what the basis of the bargain was and what they
 20   expected to get and if there’s any doubt or ambiguity as
 21   to what any of these things mean, you can look at
 22   extrinsic evidence and you can look at the context of the
 23   deal, and there’s no integration clause.        This fancy
 24   computer program that they have to (inaudible) this
 25   boilerplate and it doesn’t have an integration clause.


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  1                THE COURT:    Right.
  2                MR. WIGGIN:    So you’re free to do all that.
  3                Now, let me talk a little bit about the waiver
  4   of express warranties.
  5                THE COURT:    Why don’t we --
  6                MR. WIGGIN:    Take a break?
  7                THE COURT:    How long are you going to -- do you
  8   anticipate being?
  9                MR. WIGGIN:    I better accelerate.   I’ve said a
 10   lot of stuff out of order, but I can try and focus on the
 11   remainder of it.
 12               THE COURT:     What’s your estimate of how --
 13               MR. WIGGIN:    Forty-five minutes maybe.
 14               THE COURT:     Forty-five minutes.
 15               MR. WIGGIN:    Of course she reserved all of her
 16   -- a lot of time to respond to all of this.
 17               THE COURT:     Yeah, so -- well, if we’re going to
 18   go 45 minutes --
 19               MR. WIGGIN:    Maybe I can do it in less time
 20   than that.
 21               THE COURT:     Let’s go on for ten more minutes
 22   and see.
 23               MR. WIGGIN:    Okay.    Disclaimer of warranty.
 24   Well, as you’ve heard from counsel, apparently, the
 25   Government’s interpretation is that we really haven’t


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  1   promised to do anything because the disclaimer of
  2   warranty says that anything we provide or anything we
  3   agree to do is taken as-is.         And I’m not really sure what
  4   that means when it applies to services.        I’m not sure
  5   what that means as applied to anything else.
  6                I mean, I -- when I think of as-is, I think of
  7   a used automobile.       And the thing about taking a used
  8   automobile as-is is you don’t get a warranty.
  9   Nobody’s -- the seller shows up, he shows you the car.
 10   You say, well, that’s kind of rusty, the tires are kind
 11   of bald, it’s got a bunch of miles on it, you sure it
 12   runs well?    Oh, yeah, it runs like a dream.      But it’s as-
 13   is.   And if you decide to accept it, okay, this is
 14   acceptable meaning you take it.
 15               Now, we didn’t have any opportunity to look at
 16   anything.    All we could rely on were the representations
 17   that were made to us months and months before we signed
 18   this contract.
 19               THE COURT:    Mm-hmm.
 20               MR. WIGGIN:    But this is NASA’s boilerplate on
 21   disclaimer wording.
 22               THE COURT:    Right.
 23               MR. WIGGIN:    This is something they put in
 24   every single contract that disclaims everything about
 25   everything they do.      And, apparently, what I’m hearing


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  1   from the Government is you had no right to expect
  2   anything from us about anything.      And that’s why I made
  3   up the blueberry muffins and singing the school fight
  4   song.   I forgot to put in my brief that the school fight
  5   song was -- I was -- that was supposed to be a substitute
  6   for the technology transfer.      And the Government’s
  7   response is, well, we’re not admitting that the fight
  8   song is not transfer of technology, but even if it is,
  9   you can’t complain about it.
 10               Now -- and Ms. Rose said, well, I guess the
 11   duty of good faith and fair dealing would apply.            But
 12   we’ve also heard from them that that doesn’t mean
 13   anything because you can’t -- the duty of good faith and
 14   fair dealing, they tell you, cannot substitute for
 15   anything that’s in the contract.      So if the contract says
 16   there’s no warranties and that, you know, you can’t
 17   expect that you’re getting anything, then how can they
 18   say, well, we’ve got to act in good faith and we won’t
 19   come over with a plate of blueberry muffins?
 20               But what we intend to prove in this case is
 21   that it might as well have been a plate of blueberry
 22   muffins and the technology transfer might as well have
 23   been the school fight song because neither one of them
 24   did us any good and neither one of them accomplished any
 25   of the benefit that was supposed to -- that the parties


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  1   bargained for in this contract.
  2               Okay.      That’s about the disclaimer of
  3   warranties.    I also wanted to say one other thing about
  4   that.   I hadn’t really thought about this when the
  5   Government came up with a motion because in all my years
  6   of commercial litigation, I’ve seen -- anybody who’s done
  7   this has seen lots of cases where on the back side of a
  8   contract, there is -- on the front side, there’s all
  9   sorts of promises made, all sorts of specifications, of
 10   warranties, and on the back side, there’s a boilerplate
 11   disclaimer that says, we don’t make any warranties.
 12               THE COURT:     Mm-hmm.
 13               MR. WIGGIN:     And it occurred -- I mean, I’ve
 14   never been in a case where anybody really paid much
 15   attention to that.       So but I started thinking about the
 16   nature of all these things a lot more when this came
 17   along and it occurred to me that the purpose of these
 18   disclaimers of warranties is actually to be used in a
 19   contract where the seller has no intention of making any
 20   warranties, where they really don’t have an intention of
 21   making any warranties and they don’t make any warranties
 22   or promises.
 23               And the purpose of the disclaimer is not to
 24   nullify promises that they make and representations that
 25   they make and warranties that they make expressly; the


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  1   purpose of the disclaimer is to make sure that some
  2   lawyer doesn’t show up down the road and say, well, other
  3   language in the agreement -- I know that you didn’t say
  4   this, but other language in the agreement amounted to
  5   that and these other oral statements that were made
  6   amounted to that.      That’s the purpose of a disclaimer of
  7   express warranties because, otherwise, what sense does it
  8   make that you’ve got a disclaimer of express warranties
  9   when everybody can read on the front side of the contract
 10   that you make express warranties.
 11               And that’s why, as I say in the brief,
 12   generalia specialibus non derogant, the general cannot
 13   detract from the specific.        So when NASA makes a bunch of
 14   representations about how we will design 1000 PSI sensors
 15   for you, we will do this, we will do this, we will do
 16   that, they can’t vitiate it with a boilerplate thing on
 17   the back that says, well, we don’t do any of that.
 18               THE COURT:    Okay.
 19               MR. WIGGIN:   Now, what about implied
 20   warranties?    It’s kind of a weird thing to think that you
 21   could have a disclaimer of implied warranties -- that you
 22   could actually have implied warranties that survive a
 23   disclaimer of implied warranties.       But the more I think
 24   about that, I think, why not?       I mean, merchantability --
 25   there are only two implied warranties.       One is


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  1   merchantability.       NASA said, well, we’re not merchants.
  2   We put people on the moon.      We don’t sell -- we don’t
  3   design and sell stuff.
  4               But, actually, the definition of a merchant
  5   under the UCC, which they quote, by the way, even though
  6   they say I’m somehow -- you know, it’s wrong to quote the
  7   UCC in this court because federal law applies.           But the
  8   definition of express warranty -- I mean, if a merchant
  9   is a person who deals in goods of the kind or otherwise,
 10   by his occupation, holds himself out as having knowledge
 11   or skill peculiar to the practices or goods involved in
 12   the transaction.
 13               Dr. Okojie here had been working on these
 14   things for over 20 years.      He’s got a Ph.D.    I mean, he
 15   speaks at international conferences, local conferences.
 16   He’s the Willy Wonka of silicon carbide.        And if anybody
 17   qualifies as a merchant under that definition, it’s Dr.
 18   Okojie, and by virtue of him, NASA does, too.        And they
 19   were acting as a merchant in this case.       The whole
 20   purpose of this contract was to commercialize this stuff.
 21               THE COURT:    Mm-hmm.
 22               MR. WIGGIN:    And so it should have been implied
 23   by the circumstances, without the contract saying
 24   anything, that there was a warranty of merchantability,
 25   which means when you get this stuff from me, we know that


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  1   you’re going to sell it to somebody else and it’s going
  2   to work.    It will be merchantable.     Your seller isn’t
  3   going to sue you for fraud because the darn thing doesn’t
  4   work.
  5               All right.   That gets us to the -- the
  6   limitation on damages.     And as I -- what I have to
  7   say about that is there is no -- NASA knows full well,
  8   as you can tell from all these clauses, how to exclude
  9   something if they want.     I gave you Article 8.        Article 8
 10   is liability and risk of loss.      And in there, Spectre
 11   waived the right to make any claim in the future for
 12   any injury or death that was caused to anybody.          This was
 13   all about personal injury or damage to property as a
 14   result.
 15               So this is a complete waiver of any claims.
 16   You can’t make a claim so you don’t even have to talk
 17   about damages.    But it says you can’t get damages either.
 18   So they know how to do that.      And my position is is that
 19   there -- you will find nothing in this contract like
 20   Article 8 which says that for business losses that arise
 21   out of NASA’s failure to perform this contract, that
 22   Spectre waives all rights to make a claim and they can’t
 23   sue you.    There’s nothing that limitates -- that limits
 24   them in the damages that we can sue for.        And NASA knows
 25   how to do that.


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  1               And I will point to Article 18, which is the
  2   right to terminate -- I’ve given you a copy.        If you’ll
  3   look down in paragraph 3.      NASA shall not be liable for
  4   any costs, lost profits, revenue, direct or consequential
  5   damages, or anything as a result of the termination by
  6   NASA pursuant to paragraph 1 of this section.        Now, that
  7   doesn’t apply -- that only applies when they terminate
  8   the agreement, which they didn’t do here.        Why did they
  9   have to put that in Article 18?
 10               The reason they had to put it in Article 18 was
 11   that there’s nothing else in the contract that says you
 12   can’t sue us for lost profits, you can’t sue us for
 13   consequential damages.     So they put it in here to make
 14   sure that if NASA terminated the agreement, it could do
 15   so without having any fear of being sued for lost profits
 16   or consequential damages.
 17               When I look back at Article 14, Disclaimer of
 18   Warranties, which we were just talking about, and that
 19   has in it the only other language in this contract that
 20   you will find that bars my client from suing them for
 21   consequential damages.     And that’s down at the very end.
 22   We don’t know what this means.      It apparently applies to
 23   everything, but the last sentence says, “Neither the
 24   Government or its contractors shall be liable for
 25   special, consequential or incidental damages attributed


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  1   to such -- attributed to” -- forget that other
  2   language -- “to services provided” -- (inaudible) -- “or
  3   resulting products made or developed under as a result of
  4   this agreement.”
  5               Now, why did they put this in here?      They put
  6   it in here because nowhere else in this contract except
  7   for the termination clause will you find anything that
  8   limits the right to sue for damages.       So they put it in
  9   here.     And I maintain that this can apply only in the
 10   case of damages arising from a breach of warranty, which
 11   I argue this boilerplate does not preclude us from
 12   making.
 13               I think I’ve probably talked enough about good
 14   faith and bad faith.
 15               THE COURT:    Mm-hmm.
 16               MR. WIGGIN:   Yeah, just one more word on the
 17   essence of the bargain -- I guess I’ve talked about that.
 18   I didn’t mention, we -- the damages that we’re seeking
 19   here, $45 million -- and I don’t know if we can actually
 20   prove to the Court that we’re due that -- but I will tell
 21   you that the way that we’ve arrived at that figure -- and
 22   we will put on evidence to flesh it out, but the process
 23   we used was that we took -- in the business plan that was
 24   put together with NASA and approved by NASA that was
 25   submitted to the State of Ohio -- we had to have a


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  1   business plan -- and what it showed was that once this
  2   got underway, we would ramp up before year five from $18
  3   million to $25 million a year in sales.
  4               THE COURT:    Mm-hmm.
  5               MR. WIGGIN:   So what we did was -- I think that
  6   maybe that -- that might have been a little aggressive.
  7   I don’t know.    If NASA had delivered us something that
  8   had worked and we could get it right out, maybe that
  9   would have happened.      But to be conservative, what we did
 10   was we ramped it up and then we assumed no further
 11   growth.    We’re going to expand the plant to get that
 12   done; we’re going to hire more people; we’re going to pay
 13   for more machines and materials.      But after that point,
 14   we’re going to assume no further growth.        We’re not going
 15   to keep that ramp going up.
 16               So we assumed that through 2025, we would have
 17   -- that’s just the amount of gross we would have per year
 18   for the rest of the years.      And then we took the profit
 19   margin we expected and we calculated that our profit
 20   would be $45 million.     And based on those gross sales,
 21   which would be a total of about $250 million through
 22   2025, NASA’s cut would be $15 million on their royalty.
 23   So that’s what they expected to get out of this, and I
 24   think they really did expect it.
 25               So I apologize for sort of going all over the


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  1   place here, but I hope I -- I hope I’ve answered all your
  2   questions and --
  3               THE COURT:    Yes.
  4               MR. WIGGIN:    -- if not, I’m certainly free to
  5   answer them.
  6               THE COURT:    Okay.
  7               MR. WIGGIN:    I’ll sit down now.    Thank you.
  8               THE COURT:    Okay, thank you, Mr. Wiggin.
  9               Ms. Rose, what do you anticipate in terms of
 10   time?
 11               MS. ROSE:    I don’t have much.   I think I can
 12   wrap up in less than five minutes.
 13               THE COURT:    Okay, good.
 14               MS. ROSE:    The reason I think I can be brief is
 15   because I’m going to bring it back to the arguments that
 16   are actually at issue and what the Court needs in order
 17   to grant the Government’s motion to dismiss.
 18               At the beginning of Mr. Wiggin’s presentation,
 19   the Court asked is there any obligation of NASA to
 20   perform without payment.     There is not.    The Plaintiffs
 21   have acknowledged that they didn’t make that payment that
 22   was required prior to the work of Milestone 3.           And
 23   although they talked about what they would have liked
 24   NASA to have delivered, there was no delivery required
 25   under the contract until Milestone 6 for the sensors and


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  1   Milestone 5 for certain information.
  2               The milestones are clearly outlined in Exhibit
  3   2.   The -- in Article 3B, the number of paragraphs track
  4   the milestone schedule and then Article 4 has the
  5   milestone schedule itself.
  6               In addition, what we haven’t heard is anything
  7   that would demonstrate that the disclaimer of liability
  8   and damages here didn’t apply.      I think Plaintiff’s
  9   primary argument is that this was boilerplate, but simply
 10   by labeling something “boilerplate” doesn’t eliminate an
 11   enforceable contract provision.
 12               The -- oh, one more thing I wanted to know on
 13   NASA’s performance.      If they weren’t being paid, there
 14   was a limit on what they could do and this is outlined in
 15   Exhibit 2 under Article 5 in paragraph 5 that talks about
 16   NASA’s inability to expend funds if it’s going to run
 17   into an Anti-Deficiency Act problem.       So to the extent
 18   that Spectre isn’t paying, NASA can’t spend that money
 19   itself because it would be in violation of the Anti-
 20   Deficiency Act.
 21               THE COURT:   Mm-hmm.
 22               MS. ROSE:    One thing that Plaintiff appeared to
 23   be confused about was the Government’s discussion of when
 24   -- when the disclaimers of liability and damages wouldn’t
 25   apply and my earlier reference to bad faith.        That was


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  1   not a reference to the -- to the duty of good faith and
  2   fair dealing.    We recognize the distinction.      And I think
  3   that Plaintiff acknowledged in their presentation that
  4   they’re not actually alleging bad faith, and we think
  5   that’s consistent with their complaint.
  6               The one thing that I would say about the duty
  7   of good faith and fair dealing is that it cannot, of
  8   course, expand the parties’ contractual duties or create
  9   duties inconsistent with the contract provisions, and
 10   that includes altering the contract’s discernable
 11   allocation of risks.      And this was a contract where there
 12   was a very clear allocation of risk and the allocation
 13   was to put the risk on Spectre.
 14               And if the Court does not have any further
 15   questions, then we will rest on our briefs.
 16               THE COURT:    Okay.   Thank you very much, Ms.
 17   Rose and Mr. Wiggin.
 18               MR. WIGGIN:   Well, if you’d like, just another
 19   two minutes --
 20               THE COURT:    No, I --
 21               MR. WIGGIN:   You wouldn’t?    Okay.
 22               THE COURT:    I think I’ve heard a lot of useful
 23   information.    At least I’ll give you the way I am leaning
 24   at the moment, which may help counsel in terms of
 25   settlement.    I think this is a complex relationship that


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  1   requires an answer to some fact questions about the whole
  2   transaction on which good faith hinges.       I mean, both
  3   counsel agree that if NASA had not really performed over
  4   the blueberry muffins example, then that would be a good
  5   faith violation.       Every contract has to have some
  6   meaning, otherwise, it’s not a real contract, with some
  7   obligations it imposes.      That’s the nature of the
  8   contract relationship.
  9               And if that’s the case, as we -- I’m thinking
 10   I’m going to look more at the materials and analyze in
 11   greater detail what I’ve heard today.       It seems that a
 12   trial would be necessary and I have to -- I would have
 13   to, in that case, deny the Government’s motion to
 14   dismiss.
 15               And the facts that I’ve also heard and seen in
 16   -- through the briefs -- I’ve read through the briefs --
 17   it’s a complex transaction that was clearly going to be
 18   added for reasons that were not completely clear.           Some
 19   may have related to NASA, some may have related to the
 20   expectations of dealing with the Government.        Small
 21   businesses often don’t realize the complexities that
 22   exist.   And this one is like complexity raised to another
 23   order of magnitude because of the involvement of a state
 24   entity as well as a federal entity.       And so all of that
 25   creates a complex business relationship, that if the


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  1   Court is going to obviously do justice in the case and
  2   follow what the law requires, has to be understood.          And
  3   to the extent good faith seems to be an integral part of
  4   the dispute, that has to be -- that’s a fact question
  5   that requires witnesses.
  6               I’d add one thing, also, which may help in
  7   terms of an attempt to settle this case.        When we have
  8   relationship cases as opposed to clear legal principle
  9   cases, settlement is always a better option.        It seems to
 10   me that the $45 million claim isn’t anywhere near likely
 11   to succeed simply because it’s speculative.        The rule has
 12   generally been when you’re looking at business lost
 13   profits, these have to be existent profits.        They have to
 14   have had a track record.     New profits are virtually
 15   never, that I can remember, granted, future expected
 16   profits for a new venture.
 17               So with that in mind, that may give some kind
 18   of guidance to the value in the case.       But I would
 19   definitely like to see discussions about settlement.          And
 20   then I’ll probably be able to get a ruling out in the
 21   next week on the motion, whether I will or will not
 22   dismiss it.    But in the meantime, given my discussion,
 23   I’d like to schedule a telephone conference where the two
 24   of you can -- the two sides can discuss this together.          I
 25   know, obviously, you have to discuss it with other people


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  1   who are not in the courtroom first and so I don’t know
  2   what a reasonable -- do we have a calendar?
  3                MR. WIGGIN:    Judge --
  4                THE COURT:    Okay, thank you.
  5                MR. WIGGIN:    -- I should say that I did bring
  6   this up from the beginning, and when I first talked to
  7   Mr. Gwynne, he was not up to speed and he had to talk
  8   with lots of people in NASA and I understand how
  9   difficult that must be for the Justice Department.           And,
 10   of course, by the time he got up to speed, he filed the
 11   motion.    And then he left, and I talked to Ms. Rose about
 12   it.    But I do agree that -- and I’ve said all along --
 13   that we would like to sit down and try to work things
 14   out.
 15                THE COURT:    Would a reasonable date for our
 16   status conference be the 27th of July?        Because that
 17   would give you -- both sides a chance to discuss this
 18   internally and then have a status conference at least to
 19   -- I don’t expect anything to be done by the status
 20   conference, but I would like to at least get a
 21   temperature reading.       I don’t have the sensors for that,
 22   but I --
 23                MS. ROSE:    Your Honor, I will be out for the
 24   next two weeks, so there won’t any initiation on that for
 25   the Government until July 10th.


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  1                THE COURT:   The 27th would be --
  2                MS. ROSE:    It would be --
  3                THE COURT:   -- feasible?
  4                MS. ROSE:    It would be okay, but I’ll only have
  5   a few weeks before that.      So (inaudible) on what we would
  6   be able to accomplish.
  7                THE COURT:   Okay.   Why don’t we just then
  8   see when we’re able to get it together.         I think we
  9   should have a target date that’s within reason.          So let’s
 10   say the 27th will be a status conference on the
 11   telephone.    Let’s see when we -- we can put it at 2:00
 12   and then move (inaudible) to 2:30.         And at that point,
 13   as I said, if I had a high pressure sensor, I would use
 14   it to determine the pressure and the temperature.
 15   But subjectively I would get a sense from each of you
 16   as to what the likelihood of proceeding would be, and in
 17   the meantime, think, you know, what a -- if settlement is
 18   not in the cards, at least start thinking about a trial
 19   date.
 20               So I’ll see you all or talk to you all on the
 21   27th at 2:00.    And we’ll consider the Government’s motion
 22   and take that under advisement for now and we’ll give you
 23   a short -- in a short time, the decision.        Thank you both
 24   for your very useful -- both your oral arguments and your
 25   briefs to the Court in this case, and I look forward to


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  1   talking to you again.
  2               MR. WIGGIN:    Thank you, Your Honor.
  3               (Whereupon, at 4:16 p.m., the hearing was
  4   adjourned.)
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  1                      CERTIFICATE OF TRANSCRIBER
  2
  3               I, Elizabeth M. Farrell, court-approved
  4   transcriber, certify that the foregoing is a correct
  5   transcript from the official electronic sound recording
  6   of the proceedings in the above-titled matter.
  7
  8
  9
 10   DATE:   1/17/2018                  S/Elizabeth M. Farrell
 11                                      ELIZABETH M. FARRELL, CERT
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